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                   BEFORE THE UNITED STATES
          JUDICIAL PANEL ON MULTIDISTRICT LITIGATION


IN RE: KEYBANK DATA BREACH               MDL NO. _______
LITIGATION



 MEMORANDUM OF LAW IN SUPPORT OF MOTION OF PLAINTIFFS KAREN
MARTIN AND MICHAEL MARTIN FOR TRANSFER AND CENTRALIZATION IN
THE WESTERN DISTRICT OF PENNSYLVANIA PURSUANT TO 28 U.S.C. §1407
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       Pursuant to 28 U.S.C. §1407 and J.P.M.L Rule 6.2, Plaintiffs Karen Martin and Michael

Martin (“Plaintiffs” or “Movants”), who filed Martin v. KeyBank National Association, No. 2:22-

cv-01346 (W.D. Pa.), through their counsel Scott+Scott Attorneys at Law LLP, respectfully move

the Judicial Panel on Multidistrict Litigation for an Order transferring the six actions listed in the

Schedule of Actions (collectively, the “Related Actions”), as well as any tag-along cases subsequ

ently filed, to the United States District Court for the Western District of Pennsylvania for coordi

nated or consolidated pretrial proceedings before the Honorable Judge Robert J. Colville, before

whom one of the six Related Actions is currently pending.

              INTRODUCTION AND COMMON FACTUAL BACKGROUND

       All of the Related Actions subject to this motion arise from one nucleus of operative facts:

a data breach suffered by KeyBank National Association (“KeyBank”), KeyCorp (together with

KeyBank, “Key”), and Overby-Seawell Company (“OSC”) (collectively, “Defendants”).

       Specifically, on July 26, 2022, KeyBank notified its clients that on July 5, 2022, an

“unauthorized external party” had gained remote access to OSC’s network (the “KeyBank Data

Breach”) and, acquired certain information from a number of OSC clients, including certain

personal information of KeyBank clients, including: names, mortgage property addresses,

mortgage account numbers and mortgage account information, phone numbers, property

information, the first eight digits of Social Security numbers, and home insurance policy number

and home insurance information belonging to Plaintiffs and class members (collectively, “PII”).

Plaintiffs allege that KeyBank, KeyCorp, and OSC failed to properly protect their and class

members’ PII resulting in harm to Plaintiffs and class members who now face a substantial and

imminent risk of identity theft and fraud as a result of the KeyBank Data Breach.




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       Defendant KeyBank is a National Association organized under the laws of the United

States with a principal place of business in Cleveland, Ohio. Among other things, KeyBank

originates, sells, and services commercial and residential mortgage loans. Defendant KeyCorp is

a publicly traded company incorporated in Ohio with a principal place of business in Cleveland,

Ohio. KeyCorp is the parent holding company for KeyBank, its principal subsidiary, through

which most of KeyCorp’s banking services are provided. KeyBank operates in 15 states, with

numerous branches located throughout Pennsylvania, including 15 locations in the Pittsburgh,

Pennsylvania area. Defendant OSC is incorporated in Georgia with a principal place of business

in Kennesaw, Georgia. OSC is a technology services vendor for KeyBank that provides ongoing

verification regarding KeyBank’s residential mortgage clients’ maintenance of property insurance.

       Six Related Actions are currently pending against Defendants. Three Actions were filed

in the Northern District of Georgia, two in the Northern District of Ohio, and one in the Western

District of Pennsylvania. Each of the Related Actions was filed as a putative class action on behalf

of overlapping classes of customers whose PII were compromised by the KeyBank Data Breach.

The Related Actions are all based on several common questions of fact and law. Thus, there is a

compelling need to establish uniform and consistent standards in conducting pretrial discovery and

motion practice, and to avoid potentially inconsistent rulings, inefficiencies, and waste of the

parties’ and judicial resources that would result if the Related Actions were allowed to proceed in

numerous district courts. This is the sort of case that this Panel has routinely consolidated. This

Panel has previously recognized that centralization was proper where, like here, there are multiple

defendants entwined in a large data breach. See In re Am. Med. Collection Agency, Inc., Customer

Data Sec. Breach Litig., 410 F. Supp. 3d 1350, 1353 (J.P.M.L. 2019) (ordering transfer and




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centralization, recognizing that “a single, multi-defendant MDL” is “necessary to ensure the just

and efficient conduct of this litigation”).

        Given that there is no singular center of gravity, with KeyBank located in Ohio and OSC

located in Georgia, Plaintiffs contend that the most logical and convenient location for these

proceedings would be a centrally located venue such as the Western District of Pennsylvania,

where KeyBank maintains a significant presence and where one of the six Related Actions is

pending. Additionally, as discussed below, the Western District of Pennsylvania is equipped with

both the resources and favorable docket conditions, which renders it as the most appropriate forum.

I.      BACKGROUND

        This motion for transfer involves six Related Actions pending in three different federal

district courts. As of this filing, there are three Actions pending in the Northern District of Georgia,

two Actions pending in the Northern District of Ohio, and one Action pending in the Western

District of Pennsylvania.

        Prior to filing this motion, Plaintiffs conferred with counsel for the six Related Actions to

discuss whether alternatives to centralization, including seeking §1404 transfer to one district

court, and information coordination could be accomplished. Counsel for the six Related Actions

could not agree to transfer all Related Actions to one district court, and could not agree to

information coordination of the cases given the overlapping claims and classes.

        Based on the scope of the KeyBank Data Breach, the number of potential impacted

customers consists of many thousands, if not millions of individuals. Moreover, due to the

extensive press coverage thus far, undersigned Plaintiffs anticipate that additional class actions

will soon commence in other federal courts alleging similar claims on behalf of similar classes.




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II.    ARGUMENT

       The Panel may order transfer and coordination if civil actions pending in different districts

“involv[e] one or more common questions of fact” and transfer will further “the convenience of

parties and witnesses and will promote the just and efficient conduct of such actions.” 28 U.S.C.

§1407(a). “The objective of transfer is to eliminate duplication in discovery, avoid conflicting

rulings and schedules, reduce litigation cost, and save the time and effort of the parties, the

attorneys, the witnesses, and the courts.” MANUAL FOR COMPLEX LITIGATION, §20.131, at 220

(4th ed. 2004). Because allowing the Related Actions to proceed independently would almost

guarantee duplication of discovery, overlapping efforts, and risk inconsistent rulings, transfer and

coordination for pretrial proceedings is necessary and appropriate. The Related Actions all involve

common issues of fact ‒ a massive data breach ‒ centralization of which will promote the

convenience of the parties and witnesses and the just and efficient conduct of the litigation. See

28 U.S.C. §1407. Transfer and centralization will mitigate the possibility of inconsistent rulings,

including rulings regarding class certification, and will promote the judicial economy by providing

a single forum to which future filed tag-along actions can be transferred.

       Here, each of the Related Actions name KeyBank, KeyCorp, or OSC as the primary

defendant. Each of the Related Actions contain similar causes of action, including claims for

negligence, negligence per se, breach of contract or implied contract, and actions seeking

declaratory judgment which warrants centralization pursuant to 28 U.S.C. §1407.

       A.      The Related Actions and Any Tag-Along Actions Are Appropriate for
               Transfer and Coordination Pursuant 28 U.S.C. §1407

       Transfer and coordination are permitted if civil actions pending in different districts

“involv[e] one or more common questions of fact” and this Panel determines that transfer will

further “the convenience of parties and witnesses and will promote the just and efficient conduct



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of such actions.” 28 U.S.C. §1407(a). “The objective of transfer is to eliminate duplication in

discovery, avoid conflicting rulings and schedules, reduce litigation cost, and save the time and

effort of the parties, the attorneys, the witnesses, and the courts.” MANUAL        FOR    COMPLEX

LITIGATION, §20.131, at 220. Transfer and coordination for pretrial proceedings would achieve

those objectives in the Related Actions and is therefore appropriate here.

                1.      The Related Actions Involve One or More Common Questions of Fact

       Transfer and coordination are appropriate here as the Related Actions are based upon the

same facts concerning the KeyBank Data Breach. The factual questions common to the Related

Actions include, but are not limited to:

       i.       whether Defendants owed a duty to Plaintiffs and other similarly situated class

                members to protect PII;

       ii.      whether Defendants failed to provide reasonable security to protect PII;

       iii.     whether Defendants negligently or otherwise improperly allowed PII to be accessed

                by third parties;

       iv.      whether Defendants failed to adequately notify Plaintiffs and similarly situated

                class members that its data systems were breached;

       v.       whether Plaintiffs and similarly situated class members suffered legally cognizable

                damages as a result of the KeyBank Data Breach, and, if so, in what amount; and

       vi.      whether Plaintiff and class members are entitled to declaratory judgement.

       Additionally, all Related Actions rely upon similar legal theories of recovery, each turning

on the failure of Defendants to prevent the KeyBank Data Breach. As the Panel has consistently

recognized, centralization is appropriate in the context of data breach actions because where “all

actions stem from the same data breach,” discovery across all actions will address exactly these

questions, including “how and when [the breach] was identified, what security measures


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[defendant] had in place for securing patient data, and what steps it took after discovery of the

breach.” In re 21st Century Oncology Customer Data Sec. Breach Litig., 214 F. Supp. 3d 1357,

1358 (J.P.M.L. 2016); see also In re Marriott Int’l, Inc., Customer Data Sec. Breach Litig., 363 F.

Supp. 3d 1372, 1374 (J.P.M.L. 2019) (“The factual overlap among these actions is substantial, as

they all arise from the same data breach, and they all allege that Marriott failed to put in to place

reasonable data protections.”); In re Uber Techs., Inc., Data Sec. Breach Litig., 304 F. Supp. 3d

1351, 1353 (J.P.M.L. 2018) (“Common factual questions are presented with respect to Uber’s

practices in safeguarding its users’ personal information, the investigation into the breach, the

alleged delay in disclosing the breach, and the nature of the alleged damages.”); In re Yahoo! Inc.

Customer Data Sec. Breach Litig., 223 F. Supp. 3d 1353, 1354 (J.P.M.L. 2016) (“Common factual

questions are presented with respect to Yahoo’s practices in safeguarding its users’ personal

information, the investigation into the breach, the alleged delay in disclosing the breach, and the

nature of the alleged damages.”). Given the substantial factual overlap across the Related Actions,

centralization will eliminate duplicative discovery, prevent inconsistent pretrial rulings, and

conserve the resources of the parties, their counsel, and the judiciary.

               2.      Transfer and Coordination of the Related Actions to the Western
                       District of Pennsylvania Will Further the Convenience of the Parties
                       and Witnesses

       Centralization under 28 U.S.C. §1407 is proper when it will “serve the convenience of the

parties and witnesses and promote the just and efficient conduct of [the] litigation.” In re Dairy

Farmers of America, Inc. Cheese Antitrust Litig., 626 F. Supp. 2d 1348 (J.P.M.L. 2009).

Centralization is appropriate where, as here, it will “eliminate duplication in discovery, avoid

conflicting rulings and schedules, reduce litigation cost, and save time and effort of the parties, the

attorneys, the witnesses, and the courts.” MANUAL FOR COMPLEX LITIGATION, §20.131, at 220.




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       KeyBank and each co-defendant will likely raise the same discovery objections and seek

the same protective orders or privileges in each respective case. Absent centralization and transfer,

all parties will be subjected to duplicative discovery, and witnesses will face multiple, redundant

depositions. See, e.g., Uber, 304 F. Supp. 3d at 1353 (“Centralization will eliminate duplicative

discovery; prevent inconsistent pretrial rulings, including with respect to class certification; and

conserve the resources of the parties, their counsel, and the judiciary.”).

       Absent transfer, the federal court system will be forced to administer ‒ and KeyBank (and

their co-defendants) will be compelled to defend ‒ at least six Related Actions asserting

overlapping class actions across multiple venues, all proceeding on potentially different pretrial

schedules and subject to different judicial decision-making and local procedural requirements.

Moreover, each Plaintiff will be required to monitor and possibly participate in each of the other

similar Related Actions to ensure that KeyBank and co-defendants do not provide inconsistent or

misleading information. Many of the same pretrial disputes are likely to arise in each Action.

Likewise, due to the similar causes of action in each complaint, the defenses asserted in the Related

Actions will be substantially the same, as will the substance of any motions to dismiss and motions

for summary judgment, which will be based on the same claims and based on the same arguments

in each Action. None of the pending cases have progressed to the point where efficiencies will be

forfeited through transfer to an MDL proceeding ‒ each Action is in its infancy.

       While undersigned counsel anticipates there will be additional case filings, the current level

of litigation ‒ six Related Actions in three separate District Courts ‒ would benefit from transfer

and coordinated proceedings, given the allegations of these complaints. In re Equifax, Inc.,

Customer Data Sec. Breach Litig., 289 F. Supp. 3d 1322, 1324 (J.P.M.L. 2017) (finding that

“centralization under Section 1407 . . . will serve the convenience of the parties and witnesses and




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promote the just and efficient conduct of this litigation”); see also In re First Nat. Collection

Bureau, Inc., Tel. Consumer Prot. Act (TCPA) Litig., 11 F. Supp. 3d 1353, 1354 (J.P.M.L. 2014)

(“[E]fficiencies can be gained from having these actions proceed in a single district,” such as

“eliminat[ing] duplicative discovery; prevent[ing] inconsistent pretrial rulings . . . and conserv[ing]

the resources of the parties, their counsel and the judiciary.”); In re Zurn Pex Plumbing Prods.

Liab. Litig., 572 F. Supp. 2d 1380, 1381 (J.P.M.L. 2008) (granting transfer and consolidation of

three cases and six potential tag-alongs because of the “overlapping and, often, nearly identical

factual allegations that will likely require duplicative discovery and motion practice”).

       In sum, transfer and coordination of the Related Actions to a single federal district will

mitigate these problems by enabling a single judge to manage discovery and the parties to

coordinate their efforts. This will reduce litigation costs and minimize inconvenience to the parties

and witnesses, to the benefit of all litigations, third parties, and the courts. See In re Enfamil Lipil

Mktg. & Sales Pracs. Litig., 764 F. Supp. 2d 1356, 1357 (J.P.M.L. 2011).

               3.      Coordination Will Promote the Just and Efficient Conduct of the
                       Related Actions

       Centralization will “promote the just and efficient conduct of [the] actions” because the

Related Actions will likely involve many of the same pretrial issues concerning the nature and

scope of discovery and the sufficiency of plaintiffs’ allegations.          See 28 U.S.C. §1407(a).

Discovery will be more effectively and efficiently managed, while the resources of the parties,

attorneys, and judicial system are conserved. Coordination is therefore necessary to prevent

inconsistent pretrial rulings on many central issues, which would present substantial problems

because of the consistency in factual and legal allegations between the Related Actions. See In re

LLRice 601 Contamination Litig., 466 F. Supp. 2d 1351, 1352 (J.P.M.L. 2006).




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       Centralization is necessary to prevent inconsistent pretrial rulings on many central issues,

which would present significant problems due to the substantial consistency in factual and legal

allegations among all Related Actions.        Id. (observing that centralization would “prevent

inconsistent pretrial rulings” on class certification and other issues). The prospect of inconsistent

rulings also encourages forum and judge shopping (including, for example, manipulation of non-

congruent discovery limits, approaches to electronically stored information, and protective order

issues). By contrast, a single MDL judge coordinating pretrial discovery and ruling on pretrial

motions in all of these federal cases at once will help reduce witness inconvenience, the cumulative

burden on the courts, and the litigation’s overall expense, as well as minimizing this potential for

conflicting rulings. Id. Centralization will mitigate these problems by enabling a single judge to

manage discovery and the parties to coordinate their efforts. Am. Med. Collection Agency, Inc.,

410 F. Supp. 3d at 1353 (“[A] single MDL encompassing [multiple defendants] is necessary to

ensure the just and efficient conduct of this litigation.”). This will reduce litigation costs and

minimize inconvenience to the parties and witnesses, to the benefit of litigants, third parties, and

the courts. See id. at 1354 (“centralization will serve the convenience of the parties and witnesses

and promote the just and efficient conduct of this litigation”); Enfamil, 764 F. Supp. 2d at 1357

(“Centralizing the actions will allow for the efficient resolution of common issues and prevent

unnecessary or duplicative pretrial burdens from being placed on the common parties and

witnesses.”); In re: Lumber Liquidators Chinese-Manufactured Flooring Prods. Mktg., Sales

Pracs. & Prods. Liab. Litig., 109 F. Supp. 3d 1382, 1383 (J.P.M.L. 2015) (“Centralization will . . .

conserve the resources of the parties, their counsel and the judiciary.”).




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                4.     Centralization Under §1407 Is Appropriate Given the Number of
                       Related Actions and District Courts at Issue

       Centralization is particularly appropriate given the number of Related Actions pending in

three federal district courts. Although Plaintiff does not know whether or how many additional

actions will be filed, given the number of Related Actions and the number of differing federal

district courts, §1407 transfer is a useful and appropriate way to get in front of subsequent tag-

along actions. See In re Airline Baggage Fee Antitrust Litig., 655 F. Supp. 2d 1362, 1363 (J.P.M.L.

2009) (“In light of the very large number of individuals affected by the fees in question, the

possibility of additional actions arising in other districts (with ensuing duplicative Section 1404(a)

motion practice) looms.”).

       B.       The Western District of Pennsylvania Is Well-Suited, Efficient, and a
                Convenient Venue for the Constituent Cases

       Two of the Panel’s weightiest considerations in deciding on an appropriate transferee

district are: (1) the district’s central location to the parties, witnesses, documents and counsel, and

(2) ease of accessibility. Both of these factors strongly militate in favor of transfer to the Western

District of Pennsylvania.

       The selection of a geographically central location is of paramount importance in cases,

such as here, where the litigation is nationwide in scope and where there is no singular center of

gravity. Plaintiffs in the Related Actions are located throughout the United States. Discovery of

the putative class representatives and third parties will take place across the United States, and will

not be concentrated in a single district. Defendant KeyBank is located in Cleveland, Ohio, with

offices and branches located throughout the United States. OSC is located in Kennesaw, Georgia.

Thus, documents and witnesses are most likely going to be located in numerous geographic

locations.




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         Transfer to the Western District of Pennsylvania, a central meeting point for these

geographically dispersed parties will promote the just and efficient conduct of these Related

Actions. The Western District of Pennsylvania is similarly centrally located to counsel for

Plaintiffs and Defendants in the Related Actions. See In re Diisocyanates Antitrust Litig., 341 F.

Supp. 3d 1376, 1378 (J.P.M.L. 2018) (finding transfer to the Western District of Pennsylvania

appropriate where one defendant was located in Pennsylvania and five other defendants had their

headquarters adjacent or nearby); In re Tribune Co. Fraudulent Conveyance Litig., 831 F. Supp.

2d 1371, 1372 (J.P.M.L. 2011) (finding that “[g]iven the wide dispersal of these actions across the

country, no forum stands out as a focal point for [the] litigation,” and that the appropriate transferee

district was the one where the “documents and witnesses likely are located” and was “a convenient

and accessible forum for most parties”); In re Anthem, Inc. Customer Data Sec. Breach Litig., 109

F. Supp. 3d 1364 (J.P.M.L. 2015) (declining to centralize related data breach actions in the

Southern District of Indiana, where the company was headquartered, despite that it was the

transferee district sought by the majority of plaintiffs and the defendant, and citing the nationwide

scope of the litigation, transferring the actions to the Northern District of California, which the

Panel concluded was conveniently located and had the resources to manage the litigation).

       Thus, given that there is no clear center of gravity in or nexus to one district the Panel

should centralize the Related Actions in the Western District of Pennsylvania which consider a

centrally located and appropriate transferee jurisdiction. See In re Sonic Corp. Customer Data

Sec. Breach Litig., 276 F. Supp. 3d 1382, 1383 (J.P.M.L. 2017) (where the Northern District of

Ohio was selected as transferee district because they were a centrally located and easily accessible

location despite other Districts having more pending actions).




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       Furthermore, the Panel has repeatedly recognized the Western District of Pennsylvania as

having the necessary resources to handle the coordinated litigation of complex actions. See In re

SoClean, Inc., Mktg., Sales Pracs. & Prods. Liab. Litig., No. MDL 3021, 2022 WL 303561

(J.P.M.L. Feb. 2, 2022); In re All-Clad Metalcrafters, LLC, Cookware Mktg. & Sales Pracs. Litig.,

532 F. Supp. 3d 1411 (J.P.M.L. 2021); In re Erie COVID-19 Bus. Interruption Prot. Ins. Litig.,

509 F. Supp. 3d 1370 (J.P.M.L. 2020).

       With respect to the first factor, there is nearly an even distribution geographically across

the three jurisdictions and there is otherwise no center of gravity.

       C.      Docket Conditions Warrant Centralization in the Western District of
               Pennsylvania

       As of the date of this filing, docket conditions in the Western District of Pennsylvania are

more favorable than other potential transferee districts – the Northern District of Ohio and

Northern District of Georgia. Specifically, in the 12 months preceding September 30, 2021, the

Western District of Pennsylvania had 26 cases transferred into its district; the Northern District of

Georgia had 288 cases transferred into its district; the Northern District of Ohio had 84 cases

transferred into its district.1 Additionally, the time from filing to disposition of cases in the

Western District of Pennsylvania is more favorable than those in the Northern District of Ohio or

Northern District of Georgia.2 Indeed, the following tables sets forth the number of filings, the

median time from filing to disposition, and median time from filing to trial:


1
         Cases Transferred by Order of the Judicial Panel on Multidistrict Litigation, Cumulative
from September 1968 Through September 30, 2021 (Caseload Statistics Data Tables), United
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(last viewed September 27, 2022).
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September 27, 2022).


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  Table 1 - (Georgia Northern, US District Court – Judicial Caseload Profile):

                           June 30 June 30 June 30 June 30 June 30 June 30
                           2017    2018    2019    2020    2021    2022

Civil Court Filings
(Actions Per Judgeship)
                           528       647        601       596       552          564

Median
Time (Months)
[from Filing to
Disposition]
                           5.8       6.6        6.5       5.5       6.5          5

Median
Time (Months)
[from Filing to Trial]
                           30.3      24.8       29.4      31.3      30.8         39.1




  Table 2 - (Ohio Northern, US District Court – Judicial Caseload Profile):

                           June 30   June 30    June 30   June 30   June 30      June 30
                           2017      2018       2019      2020      2021         2022

Civil Court Filings
(Actions Per Judgeship)
                           290       352        388       352       262          219

Median
Time (Months)
[from Filing to
Disposition]
                           12.9      10.3       9.9       9.4       9.9          9.8
Median
Time (Months)
[from Filing to Trial]     26.7      21.4       18.6      N/A       N/A          36.2


  Table 3 - (Pennsylvania Western, US District Court – Judicial Caseload Profile):




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                                  June 30 June 30 June 30 June 30 June 30 June 30
                                  2017    2018    2019    2020    2021    2022

       Civil Court Filings
       (Actions Per Judgeship)
                                  264        256        264        288       280      298

       Median
       Time (Months)
       [from Filing to
       Disposition]
                                  6.1        5.8        6.7        5.6       6        6.8

       Median
       Time (Months)
       [from Filing to Trial]
                                  31.5       32.6       32.6       31.9      N/A      42.9


         Docket conditions thus favor the Western District of Pennsylvania as a more suitable

location for transfer. See In re Lending Tree, LLC, Customer Data Sec. Breach Litig., 581 F. Supp.

2d 1367, 1368 (J.P.M.L. 2008) (transfer is appropriate where a district that has the capacity to

handle a docket and, in the past, has been underutilized as a transferee district).

         Moreover, in terms of geography, the Western District of Pennsylvania, specifically

Pittsburgh, is perfectly situated as a central point between all the pending Related Actions in Ohio

and Georgia (Pennsylvania borders Ohio and is in between Ohio and Georgia). It follows then

that the Western District of Pennsylvania is centrally located and easily accessible for all

participants in the pending Related Actions.

III.     CONCLUSION

         For the foregoing reasons, Plaintiffs Karen Martin and Michael Martin respectfully request

that their motion be granted and that the Panel transfer the Related Actions listed in the attached

Schedule of Actions, as well as any future tag-along actions, to the Western District of




                                                   14
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Pennsylvania before the Honorable Robert J. Colville, for consolidated or coordinated pretrial

proceedings under 28 U.S.C. §1407.

Dated: October 18, 2022                    Respectfully submitted,

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